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                                                                                                   E-FILED
                                                               Thursday, 08 September, 2022 03:19:02 PM
                                                                             Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                       )
                                                   )
       Plaintiff,                                  )
                                                   )
       vs.                                         )           No. 19-CV-3195
                                                   )
TERRY MARTIN,                                      )
                                                   )
       Defendant.                                  )




                            NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned is admitted or otherwise authorized

to practice in this Court, and hereby enters an appearance in this case as counsel for Plaintiff

Dwight Long.



                                                       Respectfully Submitted,

                                                       By: /s Chris Bailey

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